     Case: 1:24-cv-02630 Document #: 1-5 Filed: 04/02/24 Page 1 of 2 PageID #:20




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 ZHAOYU SHI,

                        Plaintiff,
                v.

 THE PARTNERSHIPS and                                      Civil Action No. 1:24-cv-2630
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”

                        Defendants.


                               EXHIBIT 4 – PUBLIC VERSION

       This is the public version of Exhibit 4. A sealed version of Exhibit 4 will be filed separately

under seal and will remain under seal until further order of this court.
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DATED: April 2, 2024                               Respectfully submitted,

                                                   By: /s/ Timothy Wang
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